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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

DALLAS COUNTY HOSPITAL DISTRICT,               §
d/b/a PARKLAND HEALTH & HOSPITAL               §
SYSTEM,                                        §
                                               §
        Plaintiff,                             §
                                               §   Case No. 3:15-cv-4063-B
vs.                                            §
                                               §   JURY TRIAL DEMANDED
NEXTGEN HEALTHCARE                             §
INFORMATION SYSTEMS, LLC,                      §
                                               §
        Defendant.                             §

                     PLAINTIFF'S FIRST AMENDED COMPLAINT

        Pursuant to Fed. R. Civ. P. 15(a)(l)(B), Plaintiff Dallas County Hospital

District, d/b/a Parkland Health & Hospital System (the "District" or "Plaintiff') files

this First Amended Complaint, and in support thereof respectfully states as follows:

                                         PARTIES

        1.    The District is a hospital district created under the Health and Human

Services Code and is a political subdivision of the State of Texas, with its principal

operations in Dallas, Texas.

        2.    Defendant NextGen Healthcare Information Systems, LLC ("NextGen"

or "Defendant") is a California limited liability company with its principal place of

business at 18111 Von Karman Ave., Ste. 700, Irvine, CA 92612-7110.               It has

appeared through counsel in this suit.




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                               JURISDICTION AND VENUE

      3.     This Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. §§ 1332, because there is complete diversity of citizenship between the

Plaintiff and the Defendant, and the amount in controversy exceeds $75,000.00. In

particular, Parkland, as a political subdivision of the State, is a citizen of the state of

Texas, and NextGen is a citizen of the state of California, its state of incorporation

and principal place of business. Further, NextGen is a wholly owned subsidiary of

Quality Systems, Inc., a California Corporation with its principal place of business

located at 18111 Von Karman Avenue, Suite 700, Irvine, California, and therefore no

member of NextGen resides within or is a citizen of the State of Texas.

       4.   Further, the District has exhausted its administrative remedies, as this

suit follows a final determination of default by the Contracting Officer.

       5.   This Court has personal jurisdiction over Defendant because the

Defendant conducts business in Texas.

       6.   Venue is proper pursuant to 28 U.S.C. §139l(b)(2) because a substantial

part of the events or omissions giving rise to the claim occurred within the Northern

District of Texas.

                                  STATEMENT OF FACTS

       7.     This suit is an action to enforce an administrative final decision of

default against NextGen. Parkland, a political subdivision of the state, entered into

a contract with NextGen that expressly provides an administrative mechanism for

resolving issues of fact or law arising under that contract.           Pursuant to that




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mechanism, the Contracting Officer made a determination that NextGen had failed

to perform its obligations to Parkland. NextGen failed to appeal that determination,

which is now "final and conclusive." Accordingly, the only issue to be determined in

this proceeding is damages.

      8.     On September 15, 2013, the District entered into a contract with

NextGen (the "Contract") for the provision of an electronic medical record

management system (an "EMR") for use in providing care to inmates housed in

Dallas County correctional facilities.

      9.     NextGen was awarded the Contract as part of a bidding process in

which NextGen submitted a proposal that described NextGen's capability to deliver

an EMR consistent with the stated project requirements for a stated price. Among

NextGen's representations in its February 5, 2013 bid proposal were that it could

customize software and provide specialty-specific templates to be used for patient

intake, initial health assessment, provider and nursing visits, continued care and

other workflows.    NextGen specifically represented that it could add and remove

fields from its templates, and link logic commands to certain fields so that tasks

could be assigned based on the information entered into the system. NextGen's bid

also stated that its system has "the most robust and flexible alert subsystem in the

market, bar none" and that alerts and triggers could be easily edited, and that

NextGen's staff would adjusted the triggers during implementation.

       10.   The District understood NextGen's statements about its system

capabilities to mean that the particulars in the statement of work could be delivered




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expeditiously and without extensive reprogramming to deliver the features in the

scope of work. In reliance on these statements and NextGen's representation that it

could deliver a system meeting the District's requirements for the price stated in the

bid, the District awarded NextGen the Contract.

       11.   By submitting a bid and entering into the Contract, NextGen agreed to

be bound by the dispute resolution process set out in the Contract. See Texas Dep 't

of Transp. v. Jones Bros. Dirt & Paving Contractors, 92 S.W.3d 477 (Tex. 2002);

Martin K. Eby Const. Co. v. Dallas Area Rapid Transit, 369 F.3d 464 (5th Cir. 2004).

       12.   The Contract was to be performed in two phases. First, NextGen was to

develop and install the EMR software by an agreed-upon "go-live" date. Thereafter,

NextGen was to provide maintenance and administrative support to the District in

connection with the EMR.

       13.   The Contract includes a detailed Statement of Work (Schedule C),

which specifies the baseline functionalities the District required to be a part of the

EMR.    Under the terms of the Contract, failure to deliver an EMR that meets the

Statement of Work constitutes a default.

       14.   Among the required elements for the EMR is a bi-directional pharmacy

interface. That is, doctors should be able to input medication orders into the system

for transmission to the pharmacy, and the pharmacy must be able to send data

regarding the inmate's identification and dispensed medications for storage in the

EMR database.




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      15.        The Contract also requires that the system be able to handle medical

information as soon as an inmate arrives by setting up a dummy medical records

number without waiting for data from AIS (the automated information system).

Further, the system ·must be able to merge this dummy file with the inmate's

existing information after booking to ensure complete and accurate medical records.

      16.        As a further measure to ensure that inmates receive proper care, the

Contract provides that the EMR create tasks at the inmate's initial intake for a

variety of continuing care measures, including follow-up appointments, suicide

watch, and nursing reminders.

      17.        The Contract also calls for the EMR to have features designed to

improve efficiency and detect irregularities. These features include:

            a. regular screen refresh at the maximum frequency allowed by the

                 District's hardware and network infrastructure;

            b. configuration of nurse protocols to allow ordering of formulary

                  medications consistent with established protocols;

            c. storing of information about inmate aliases;

            d. provision of alerts within the system to facilitate rules enforcement,

                  prompt investigation of irregularities, and prevent medical error;

            e. transfer of appointments and tasks when inmates are moved to a new

                  facility;

            f.    update of appointments and tasks upon inmate release;




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         g. use of "holding discharge" status for 72 hours before canceling an

              inmate record;

         h. creation of security groups permitted to order over-the-counter

              medications and certain inmate supplies;

         i.   configuration of "flow sheets" that generate tasks based on inputted

              responses;

         J.   generation of reports for booked inmates who did not receive a health

              screen;

         k. ability to track patients referred into and sent out of the District for

              care;

         1. established lab test orders for designated diagnoses or dispositions;

          m. automatic appointment reminders and orders if a provider selects the

              automated option in his or her medical notes entries;

          n. ability to gather and integrate data from the District's hardware

              vendors;

          o. high-speed scanning ability;

          p. maintenance of scanned files in their native format; (q) ability to store

              photographs;

          q. ability to provide pre-defined order sets;

          r. ability to have authorized users create or edit templates, alerts and

              triggers as needed;




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            s. appointment scheduling function that allows scheduling across

               multiple providers and locations based on available resources;

            t. ability to write reports that are customized and also integrate EMR

               data elements;

            u. use of bar-code identification for patients and medications;

            v. ability to record administration of medications and to undo such

               records in case of error or patient refusal;

            w. ability to differentiate between prescribed medications, "keep on

               person" medications, and othe1·s;

            x. ability to provide medications before an inmate's scheduled pass time;

            y. ability to view an inmate's medication history from current and prior

               admissions to the District;

            z. ab1lity to separately report injections for those receiving insulin and

               those receiving other injected medications; and

            aa. inclusion of features to properly track medications, such as refills,

               administration of medications while electronic system is down, and

               automatic reassignment of undispensed medication administration to

               the next nurse after shift change.

      18.     In addition, the Contract called for a consultative process between

NextGen and the Jail Health Team to study current processes and develop

recommendations for how to leverage the new automated system to streamline and

improve inmate care. This was to be followed by development of a mutually agreed




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upon project plan that incorporated the baseline requirements from the Statement of

Work, and specified an implementation schedule and go-live date. The initial draft

project plan was to be provided by NextGen within 15 days of contract execution.

        19.   What followed were protracted discussions about the project plan,

during which NextGen repeatedly resisted committing to complete the EMR by any

specified date. NextGen delivered a project plan on October 8, 2013, but the plan

was from another project and gave completion dates that pre-dated the contract and

failed to address the District's specific requirements. On October 16, 2013, NextGen

delivered a Work Breakdown Structure to the District, but it was a blank template

that included no completion dates or milestones.      After further discussions, in

November 2013, NextGen provided an "Implementation Timeline" for the project of

6-10 months (which would have placed completion between May 2014 and

September 2014), but again provided no completion dates for individual aspects of

the EMR. Indeed, despite numerous requests, and countless meetings between the

NextGen and District project teams, NextGen failed to deliver a complete project

plan until January 2014. At that time, the proposed go-live date was October 4,

2014.

        20.   Over the next several months, the District continued to insist on a

project plan with defined milestones and completion dates.     By this time, it was

apparent that the EMR would not go live within the 6-10 month period originally

promised, or by the October 4, 2014 date. In August 2014, the parties agreed on a

new plan with a later go-live date of February 25, 2015. That date passed without a




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fully functional EMR system. Members of the District project team continued to

work with NextGen into the spring of 2015 to test the functionality of the system

and discuss its progress, but were never given an EMR that performed as required

by the Contract. Indeed, each of the features noted above were either completely

absent from the system, or failed to work in the manner the Contract prescribed. By

this time, NextGen had missed its promised go-live date on at least 4 separate

occasions.

      21.    At this time, it was apparent to the District employees working on the

project that NextGen's software platform was not what NextGen had represented it

to be. The platform could not be tailored to medical staff needs, did not include all of

the templates indicated in NextGen's description of its product, and was not easily

customizable as represented.    Similarly, the platform did not have a "robust and

flexible" alert subsystem as represented, and did not allow the District to easily edit

alerts and triggers.

      22.    Despite these ongoing difficulties, the District performed its obligations

under the contract, having transferred substantial funds to NextGen in payment of

its periodic invoices. After it became apparent that the EMR developed by NextGen

did not, and likely never would, meet the baseline requirements in the Statement of

Work, the District ceased further payment as permitted by the Contract.

      23.    Section E-2 of the Contract provides that all work performed by

NextGen will be "free from defects and conform to the requirements of this contract."

Further, Section E-2 allows the Contracting Officer for the District to give written




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notice of any defect or nonconformance within one year of acceptance of work, and

requires that NextGen correct the defect at no cost to the District.     In addition,

Section G-5 of the Contract expressly authorizes the District to withhold payment for

work not properly completed.

      24.    Section 9 of Addendum 1 gives NextGen 30 days following a notice of

default to cure. Consistent with these provisions, and due to the persistent problems

with the EMR and NextGen's repeated failure to deliver a system that conformed to

the Statement of Work, the Contracting officer authorized and directed counsel for

the District to provide written notice to NextGen of the numerous defects and

failures of the EMR. NextGen received this notice by letter dated May 14, 2015 from

counsel, as the Contracting Officer's duly authorized representative.

      25.    NextGen responded on June 1, 2015, denying that its work failed to

conform to the Contract's requirements, or otherwise blaming its failure to deliver on

others.   NextGen did not commit to correct any of the defects identified by the

District, and took no further action to improve the EMR system.

      26.    After the    30-day cure period expired,      the    Contracting Officer

determined that NextGen's response failed to establish that NextGen had performed

the Contract and that it had failed to cure the defaults identified on May 14, 2015.

Based on this determination, the Contracting Officer authorized and directed

counsel for the District to give NextGen notice of termination of the Contract, which

was doneby letter dated June 17, 2015.       The termination letter cited NextGen's

failure to correct the numerous defects set out in the Contracting Officer's May 14




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correspondence, and demanded repayment of all amounts previously paid to

NextGen by the District. The letter made an express finding that NextGen was in

default, and advised NextGen of its right to appeal under the disputes clause of the

Contract.

       27.   Section H-10 of the Contract specifies the manner in which disputes

relating to the Contract will be resolved. In particular, the Contract provides that

the Contracting Officer will decide all such disputes, and that - absent an appeal

within 90 days of such decision - the Contracting Officer's decision "shall be final

and conclusive."

       28.   To date, NextGen has failed to appeal this decision or otherwise

respond. Thus, more than 90 days have passed since the Contracting Officer notified

NextGen that it was in default, and no appeal has been made to the District.

Accordingly, the finding of default has been conclusively decided against NextGen.

       29.   All conditions precedent to filing suit have been satisfied by the

District.

                                   CAUSES OF ACTION

                                      COUNT I
                                 BREACH OF CONTRACT

       30.   The District incorporates by reference the allegations contained m

Paragraphs 1 through 29 as if fully set forth herein.

       31.   On or about September 15, 2013, the District and NextGen entered into

a Contract by which NextGen agreed to provide an electronic medical records system




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that met the requirements set out in the Statement of Work incorporated into the

Contract.

       32.   The Contract is a valid and enforceable contract. The Contract provides

that failure to fulfill the obligations of the Contract is a default. NextGen failed to

fulfill the obligations of the Contract by failing to deliver a system that conformed to

the Statement of Work. NextGen was given notice of default and an opportunity to

cure, but it did not, instead factually disputing that a default had occurred.

       33.   The Contracting Officer made a finding of default, and NextGen failed

to timely appeal consistent with the disputes provision of the Contract. Accordingly,

NextGen is conclusively deemed to have breached.

       34.   As a direct and proximate result of NextGen's breach, the District has

been damaged in an amount to be proven at trial, such damages to include the costs

of cover.

                                  PRAYER FOR RELIEF

        WHEREFORE PREMISES CONSIDERED, the District prays that the Court

 enter a judgment against Defendant granting the District the following relief:

        a.    Judgment against NextGen that it has breached the Contract and

              awarding the District damages in an amount to be determined by the

              trier of fact, plus pre-and post-judgment interest, costs, expenses, and

              attorneys' fees, as allowed by law (including without limitation, Texas

              Civ. Prac. & Rem. Code § 38.001) and under equitable principles, for

              NextGen's breach of the Contract; and




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      b.     Such other and further relief as the Court deems just and appropriate.



Date: March 8, 2016                          Respectfully submitted,

                                             Is I Linda R. Stahl
                                             E. Leon Carter
                                             Texas Bar No. 03914300
                                             lcarter@carterscholer.co m
                                             Linda R. Stahl
                                             Texas Bar No. 00798525
                                             lstahl@carterscholer.com
                                             CARTER SCHOLER ARNETT
                                             HAMADA & MOCKLER, PLLC
                                             8150 N. Central Expressway
                                             Suite 500
                                             Dallas, Texas 75206
                                             T: 214.550.8188 I F: 214.550.8185

                                             ATTORNEYS FOR PLAINTIFF




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